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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-00908-CMA

HUNTER ADAM MELNICK,

       Applicant,

v.

COLORADO STATE BOARD OF PAROLE,

       Respondent.


      ORDER RE: MOTION FOR CLARIFICATION AND EXTEN[S]ION OF TIME


       The matter before the Court is Applicant’s Motion for Clarification and Exten[s]ion

of Time (ECF 49). Applicant states in the motion that he did not receive a copy of the

Court’s December 15, 2021 Order (ECF 45), but instead recently learned about it from a

friend who logged onto PACER. Applicant requests that a copy of the December 15

Order be mailed to him and that he be allowed an additional 30 days “to respond.” (ECF

49 at 2).

       In the December 15 Order (ECF 45), the Court denied several pending motions

filed by Applicant and directed Applicant to file a Reply to Respondents’ Supplemental

Response to Order to Show Cause (ECF 41) on or before January 15, 2022.

       On January 26, 2022, the Court issued an Order Denying Application for a Writ of

Habeas Corpus (ECF 46). Therefore, Applicant’s request for an extension of time to file

a Reply is now moot. (ECF 49 at 2). The basis of Applicant’s request for clarification is

unclear.

       Accordingly, it is
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      ORDERED that Applicant’s Motion for Clarification and Exten[s]ion of Time (ECF

49) is DENIED as moot. It is

      FURTHER ORDERED that the clerk of the court shall mail to Applicant a copy of

the December 15, 2021 Order (ECF 45).

      DATED February 1, 2022.

                                        BY THE COURT:


                                        CHRISTINE M. ARGUELLO
                                        United States District Judge
